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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                           Exhibit O
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                              DEPARTMENT OF THE TREASURY
                                 INTERNAL REVENUE SERVICE
                                   WASHINGTON, D.C. 20224

COMMISSIONER



                                           May 17, 2019



      The Honorable Richard E. Neal
      Chairman
      Committee on Ways and Means
      U.S. House of Representatives
      Washington, DC 20515

      Dear Chairman Neal:

      I write in response to your letter dated May 10, 2019, transmitting a subpoena for
      returns and return information of specific individual and business taxpayers. Based on
      advice received from the Department of Justice, as explained in the Secretary's letter
      sent to you earlier today, we are precluded by law from providing the requested returns
      and return information.

      Although we cannot provide the documents requested by the subpoena, we have
      offered to provide additional information to accommodate the Committee's stated
      interest in understanding how the IRS audits and enforces the tax laws against a
      President, and we remain committed to providing such information if the Committee
      requests it.

      Your letter expresses a concern that IRS employees could be subject to undue
      influence when conducting mandatory audits of a President's tax returns. More
      specifically, your letter references a concern that "employees who determine the scope
      of the President's audit, or who determine whether to continue previously-initiated
      audits, are protected in the course of their work." That concern is unfounded for the
      reasons described below.

      The IRS strives to treat all taxpayers with the highest degree of impartiality. Procedures
      implemented by the IRS in 1977 strongly protect the integrity of the mandatory audit
      process set forth in Internal Revenue Manual (IRM) 3.28.3 and 4.2.1.11. These
      procedures were implemented, and have been maintained in largely the same form for
      over 40 years in order to insulate the IRS's examination process from any bias or
      appearance of bias. Under the procedures, within 10 days of receiving a copy of a
      President or Vice President's return, a manager in one of the IRS's operating divisions
      assigns the examination to a revenue agent who is instructed to follow the IRM's
      general audit procedure guidelines. IRM 4.2.1.11 (5) and IRM 4.2.1.11 (3)(d). Under
      those guidelines, the scope and depth of the examination is determined by the revenue
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agent, based on established risk protocols. IRM 4.10.3.2. In accordance with normal
examination procedures, where warranted, the mandatory examination of a President or
Vice President's return can be expanded to include related or prior year returns. IRM
4.2.1.11 (6).

From start to finish, all aspects of the processing and examination of a President or Vice
President's returns are conducted by experienced, career IRS employees. As with any
examination, if any IRS or Treasury official other than the career employees responsible
for the examination attempts to influence its outcome or direction, procedures are in
place to notify the Treasury Inspector General for Tax Administration. These procedures
play a critical role in ensuring the integrity and impartiality of the examination process.
No political appointee has to our knowledge had any involvement in any examination of
a President or Vice President's tax returns at any time since the mandatory procedures
were put in place in 1977.

If you would like additional information regarding the IRS's mandatory examination
procedures, please contact me directly, or a member of your staff may contact
Leonard Oursler, Director, Legislative Affairs, at (202) 317-6985.




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                                         Charles P. R~
